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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

                                                      )
Cynthia L. Mendoza,                                   )
                                                      )         Case No.
               Plaintiff,                             )
                                                      )
vs.                                                   )         Judge
                                                      )
Idaho Transportation Department,                      )         COMPLAINT AND DEMAND
                                                      )         FOR JURY TRIAL
                                                      )
               Defendant.                             )
                                                      )

       Plaintiff Cynthia L. Mendoza complains against defendant Idaho Transportation

Department as follows:

                                     NATURE OF ACTION

       This is an action for an award of injunctive relief, attorney fees, and other relief on behalf

of Plaintiff, Cynthia L. Mendoza (“Ms. Mendoza”), an employee of Defendant, Idaho

Transportation Department (“ITD”), who has been harmed by ITD’s discriminatory employment

practices and retaliation by the same for making, pursuing, participating in, and supporting claims

for unlawful discrimination and harassment and for opposing employment practices made

unlawful by federal and state law.

       In particular, this action arises under the following:



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        a.       Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000(e), et seq., as amended

by the Civil Rights Act of 1991, at 42 U.S.C. § 1981(a) (“Title VII”), including § 703 which

prohibits sexual discrimination, 42 U.S.C. § 2000e-2(a), and § 704(a) which prohibits reprisal and

retaliatory acts, 42 U.S.C. § 2000e-3(a); and

        b.      The Idaho Human Rights Act (“IHRA”), Idaho Code § 67-5909, which prohibits

discrimination based upon sex, and Idaho Code, § 67-5911 which prohibits reprisal or retaliatory

acts.

                                             PARTIES

        1.      Plaintiff, Ms. Mendoza, is, and was at all times pertinent hereto, a female and

citizen of Idaho, residing in Ada County.

        2.      At all times relevant herein, Ms. Mendoza was an employee of ITD within the

meaning of 42 U.S.C. § 2000(e)-(f), 29 U.S.C. § 630(f), and Idaho Code § 67-5902.

        3.      Defendant, ITD, is a state of Idaho governmental organization with its principal

offices in Ada County Idaho.

        4.      At all times relevant hereto, ITD was acting through its agents, servants, and

employees, who were acting within the scope of their authority, course of their employment, and

under the direct control of ITD.

        5.      At all times material herein, ITD is and has been a “person” and “employer” as

defined under Title VII and the IHRA and is accordingly subject to the provisions of each said act.

                                   JURISDICTION AND VENUE

        6.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 1391 as Ms.

Mendoza’s claims are substantively based on Title VII.




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       7.      The supplemental jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1367

to consider Ms. Mendoza’s claims arising under the IHRA.

       8.      All conditions precedent to the institution of this suit have been fulfilled and Ms.

Mendoza has satisfied all jurisdictional prerequisites prior to commencement of this action. On

February 13, 2020, a Notice of Right to Sue was issued by the Equal Employment Opportunity

Commission (“EEOC”) and this action has been filed within 90 days of receipt of said notice.

                    BACKGROUND AND FACTUAL ALLEGATIONS

       9.      Ms. Mendoza began working for ITD on or around March 7, 1987 as a Digital

Equipment Specialist.

       10.     During her employment with ITD, Ms. Mendoza received promotions, advancing

to the position of Signal Shop Supervisor which she assumed around the year 2002.

       11.     Throughout her employment with ITD and continuing throughout the events of

discrimination and retaliation described herein, Ms. Mendoza consistently received commendable

performance evaluations from her supervisors, receiving “excellent” or “above standard” ratings.

       12.     At all times material herein, Ms. Mendoza was the only female employee in the

ITD Signal Shop facility.

       13.     In or around summer of 2011, Greg Wozniak was hired by ITD as a Sign Fabricator.

Thereafter, he exhibited a persistent pattern of discriminatory behavior toward Ms. Mendoza.

       14.     As examples, but not with limitation, Mr. Wozniak would belittle and humiliate

Ms. Mendoza, making comments that women were “useless” and “stupid.” Mr. Wozniak would

follow Ms. Mendoza to the restroom and lock her outside.

       15.     This conduct was in stark contrast to Mr. Wozniak’s interaction with male

employees.




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        16.     In or around January of 2019, Mr. Wozniak threatened to bring a gun to work and

on one occasion followed Ms. Mendoza outside and pretended that he was going to hit Ms.

Mendoza.

        17.     Ms. Mendoza repeatedly reported Mr. Wozniak’s discriminatory and harassing

comments and threatening conduct to human resources and management at ITD; however, they

failed and refused to take action, at one point stating to her, “if it’s not safe for you to walk through

the building to the bathroom, you’re free to use another bathroom.”

        18.     After expressing and conveying complaints with ITD human resources and

management personnel, Ms. Mendoza, who is a licensed electrician, sought authorization from her

supervisor to purchase supplies and tools on the company account, as was customary for the male

employees.

        19.     In retaliation, ITD refused to purchase any of the tools that Ms. Mendoza required

to perform her job, thereby forcing her to purchase her own tools, in contrast to the male

electricians. When Ms. Mendoza inquired as to the reasoning for this, she was told she should

borrow tools from other people.

        20.     Also following her formal complaints, Ms. Mendoza requested that ITD purchase

her a safety mat, date stamp, and screwdriver, which Defendant refused. In contrast, when male

employees requested such purchases, they are authorized the same day.

        21.     After further complaints to ITD human resources went unanswered, Ms. Mendoza

reported Mr. Wozniak’s behavior to her manager, Crystal Grasmick, who told Ms. Mendoza, “this

is Idaho, you can bring guns anywhere.”

        22.     Finally, Ms. Mendoza reported the harassing and discriminating conduct to the

Federal Highway Administration, which referred Ms. Mendoza to the EEOC.




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       23.     ITD took no action to investigate Ms. Mendoza’s legitimate concerns and has failed

and refused to take prompt remedial action calculated to protect her from Mr. Wozniak’s

inappropriate conduct and to ensure that such misconduct will not occur in the future.

       24.     Instead, because of Ms. Mendoza’s complaints to HR and supervisors, ITD has

subjected her to enhanced scrutiny and retaliation, including withholding safety equipment and

necessary tools without good of justifiable cause.

       25.     Ms. Mendoza now suffers from anxiety, stress, and depression caused by ITD’s

actions, which she has only been able to endure due to work-from-home orders following COVID-

19.

                                     INCOROPORATION

       26.     Ms. Mendoza hereby alleges and incorporates all of the foregoing allegations and

averments in Paragraphs 1-25, in each and every cause of action stated herein.

                                 FIRST CAUSE OF ACTION
                                    Sexual Discrimination

       27.     The disparate discriminatory treatment of Ms. Mendoza by ITD arises from a series

of cumulative events and actions, perpetuated or directed largely by Mr. Wozniak with the

knowledge, support, and consent of others in the administrative and management hierarchy of ITD.

       28.     All of the decisions and actions taken against Ms. Mendoza by ITD described here

were motivated in whole or substantial part by her female gender, with the discriminatory intent

and effect of depriving Ms. Mendoza of equal treatment provided to similarly situated male

employees.

       29.     The conduct of Mr. Wozniak in particular toward Ms. Mendoza had the purpose

and effect of unreasonably interfering with Ms. Mendoza’s work performance and further created




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and fostered an intimidating, hostile, unwelcome, and offensive work environment for Ms.

Mendoza.

       30.     Despite being aware and advised of Ms. Mendoza’s legitimate complaints and

concerns, ITD failed to take immediate and appropriate action to cause cessation of or otherwise

circumscribe the discriminatory and harassing conduct against Ms. Mendoza.

       31.     Regardless of ITD’s actual or implied knowledge of this discriminatory, harassing,

and essentially retaliatory conduct, given the position and duties of those perpetuating such

wrongs, ITD is, as a matter of law, strictly liable.

       32.     As the direct and proximate cause of the wrongful discriminatory conduct described

herein, Ms. Mendoza has suffered and will in the future continue to suffer injury and loss as more

particularly described herein below.

                                 SECOND CAUSE OF ACTION
                                        Retaliation

       33.     Federal and state law, including specifically 42 U.S.C. § 2000e-3(a) and Idaho

Code § 67-5911, prohibit any form of reprisal or retaliation by employers and their agents against

employees who exercise their rights to oppose discrimination and to seek protection under the laws

which prohibit gender discrimination.

       34.     Ms. Mendoza availed herself of the protection and application of these laws by,

among other things, objecting to and opposing the discriminatory conduct of ITD by registering

and pursuing her complaints of discrimination internally with ITD and externally with the Federal

Highway Administration and the EEOC.

       35.     Such objections, opposition, and complaints by Ms. Mendoza were made in good

faith with a reasonable belief that ITD’s conduct was unlawful.




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          36.     As a result, ITD retaliated and took reprisal against Ms. Mendoza, as addressed

herein, in violation of the all aforementioned laws.

          37.     As the direct and proximate cause of such retaliatory conduct, Ms. Mendoza has

suffered and will continue to suffer injury and loss more particularly described herein below.

                                             DAMAGES

          38.     The following allegations, paragraphs 38-42, are incorporated by reference as part

of each count, claim, and cause of action stated in this Complaint and any amendment to the

Complaint.

          39.     As the direct and proximate cause of ITD’s discriminatory, harassing, retaliatory,

and other unlawful conduct, Ms. Mendoza has suffered and unless and until this Court grants relief,

she will continue to suffer in the form of humiliation, mental anguish, and loss to her professional

reputation and career, and other losses, tangible and intangible, economic and compensatory, in an

amount to be proven and determined at trial for which she seeks full recovery.

          40.     Among other things, Ms. Mendoza seeks all recoveries and relief as allowed by law

for the following:

          a.      Emotional distress, anxiety, and mental anguish;

          b.      Loss of reputation;

          c.      Disruption of her career; and

          d.      Incidental and consequential losses.

          41.     The conduct of ITD as described herein was willful, intentional, knowing,

malicious, reckless, and in extreme deviation from appropriate and acceptable standards, thereby

entitling Ms. Mendoza to awards of exemplary, punitive, and liquidated damages as are allowed

by law.




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          42.   To the extent required by Idaho Code § 6-1604 or other applicable law, Ms.

Mendoza reserves her right to amend this Complaint to add a prayer for punitive damages.

                                      EQUITABLE RELIEF

          43.   The facts and circumstances giving rise to this action, and the conduct which is

threatened to occur in the future justifies this Court granting appropriate equitable relief, as allowed

by law, including pursuant to 42 U.C.S. § 2000e-5(g) and Idaho Code § 67-5908(1).

          44.   In certain respects, Ms. Mendoza has not plain, adequate, or complete remedy at

law to redress the wrongs alleged herein, particularly the damage done to her mental health, and

this action, insofar as it seeks injunctive relief, is the only means of securing full and adequate

relief.

                                ATTORNEY FEES AND COSTS

          45.   As consequence of the complaints, causes, and claims stated herein, Ms. Mendoza

has been required to retain the law firm of Mauk Miller & Hawkins and has incurred and will incur

costs and reasonable attorney fees related thereto, for which she is entitled to a separate award of

reimbursement pursuant to Section 706 of Title VII, 42 U.S.C. § 2000e-5(k), the Civil Rights

Attorney Fees and Award Act of 1976, 42 U.S.C. § 1988(b), Rule 54 of the Federal Rules of Civil

Procedure, and other comparable provisions of the laws of the United States and the State of Idaho

affording such awards.

                                          JURY DEMAND

          46.   Ms. Mendoza requests a trial by jury of twelve persons on all counts, claims, and

causes of action triable by a jury, pursuant to Rule 38 of the Federal Rules of Civil Procedure.




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                                     PRAYER FOR RELIEF

       Wherefore, Ms. Mendoza requests that this Court enter judgment in her favor and against

ITD, and orders that:

               a.       ITD compensate Ms. Mendoza with a rate of pay and other benefits and
                        emoluments of employment to which she would have been entitled had she
                        not been subjected to unlawful discrimination;

               b.       ITD compensate Ms. Mendoza with an award of front pay, if appropriate;

               c.       ITD pay Ms. Mendoza punitive damages, compensatory damages for future
                        pecuniary losses, pain, suffering, inconvenience, mental anguish, loss of
                        enjoyment of life and other nonpecuniary losses as allowable;

               d.       ITD take affirmative action, as this Court deems appropriate based upon the
                        proof at trial or at a proper post-judgment hearing regarding such relief;

               e.       ITD pay Ms. Mendoza pre and post-judgment interests, costs of suit, and
                        attorney fees as allowable by law;

               f.       For additional equitable relief as this Court deems appropriate based upon
                        the proof at trial or at a proper post-judgment hearing regarding such relief;

               g.       The Court award such other relief as is deemed just and proper;


Dated May 13, 2020.


                                                       MAUK MILLER & HAWKINS, PLLC



                                                       K. Kelsey Gooden
                                                       Attorney for Plaintiff Cynthia L. Mendoza




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